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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                §
                                         §
 V.                                      §      CRIMINAL NUMBER 4:19-CR-00264
                                         §
 WILLIAM GRANT ALLBROOK                  §


                              NOTICE OF APPEARANCE

        COMES NOW, JAMES P. WHALEN and RYNE T. SANDEL, and makes this their

 appearance on behalf of Defendant, WILLIAM GRANT ALLBROOK.

                                      Respectfully submitted,

                                      WHALEN LAW OFFICE

                                      /s/ James P. Whalen
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                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing Notice of Appearance was

 filed with the Court and Assistant United States Attorney via ECF on the 31st day of October 2019.


                                                     /s/ James P. Whalen
                                                     JAMES P. WHALEN




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